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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WASHINGTON
                                                            Case No.          1:23-CV-03027-MKD
 UNION GOSPEL MISSION OF YAKIMA,
 WASHINGTON,                                                CIVIL MINUTES
                           Plaintiff,
      -vs-                                                  DATE:             MAY 31, 2023
                                                            LOCATION:         RICHLAND/VIDEO
 ROBERT FERGUSON, et al.,
                                      Defendants.
                                                            MOTION HEARING


                                       Honorable Mary K. Dimke
         Cora Vargas                                   03                                 Kimberly Allen
      Courtroom Deputy                              Law Clerk                             Court Reporter
                   Ryan Tucker
                                                                               David Ward
                David Knox DeWolf
                                                                               Daniel Jeon
                    Jacob Reed
                Plaintiff's Counsel                                      Defendants’ Counsel

      [ X ] Open Court                     [ ] Chambers                             [X] Video conference

Defendants’ Motion to Dismiss for Lack of Jurisdiction (ECF No. 11).
    Argument by Mr. Ward in support of motion
    Argument in opposition of motion by Mr. Tucker
    Rebuttal argument by Mr. Ward
    Additional argument in opposition by Mr. Tucker
    Additional rebuttal argument by Mr. Ward
    Court: Defendants’ Motion to Dismiss for Lack of Jurisdiction, ECF No. 11, is TAKEN UNDER
      ADVISEMENT.

Plaintiff’s Motion for Preliminary Injunction (ECF No. 14).
     Argument by Mr. Tucker in support of motion
     Argument in opposition of motion by Mr. Ward
     Rebuttal argument by Mr. Tucker
     Court: Plaintiff’s Motion for Preliminary Injunction, ECF No. 14, is TAKEN UNDER
        ADVISEMENT.




[X] ORDER FORTHCOMING

 CONVENED: 9:05 A.M.        ADJOURNED: 10:58 A.M.           TIME:      1:53   HR.      CALENDARED      [ ]
